CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 1 of 32




                    Exhibit E
    CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 2 of 32




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 IN RE: CENTUR YUNK SALES                       MDL No. 17-2795 (MJD/KMM)
 PRACTICES AND SECURITIES
 LITIGATION                                     DECLARATION OF ROBERT
                                                MATTHEWS
This Document Relates to:
 0: l 7-cv-02832      0: l 7-cv-04943
 0: l 7-cv-04613      0: l 7-cv-04944
 0:17-cv-04614        0:17-cv-04945
 0:17-cv-04615        0:17-cv-04947
 0: l 7-cv-04616      0: l 7-cv-05046
 0: l 7-cv-04617      0: 18-cv-01562
 0: l 7-cv-04618      0: l 8-cv-01572
 0: l 7-cv-04619      0: 18-cv-01573
 0: 17-cv-04622       0: 18-cv-01565

          I, Robert Matthews, am over the age of 18, make this declaration based on my

own personal knowledge, and am competent to testify to the matters contained herein if

called upon to do so.

          1.    I am an Analyst II with CenturyLink' s Customer Advocacy Group

("CAG"). My responsibilities include investigating and responding to customer disputes,

including those relating to sales and billing issues.

          2.    I am a current CenturyLink service subscriber.

          3.    I am aware of attorney advertising seeking to solicit and engage

CenturyLink customers to pursue arbitrations against CenturyLink for alleged overbilling

claims.
   CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 3 of 32




       4.     Specifically, I am aware of the solicitation and engagement process

supported by the following website:

http://attorney.centurylinkoverbillingclaims.com/sign-up.

       5.     On January 6, 2020, I interacted with the fonns served on that website and

submitted truthful responses to those questions that required input before proceeding.

       6.     The website featured a link labeled " Sign Up for a Claim to Recover

Money." When I clicked on that link it led to the form shown in Exhibit 1.

       7.     The fonn shown in Exhibit I asks for basic contact information and

features two questions, "Did CenturyLink bill you more than they first quoted you?" and

"Did CenturyLink ever bill you for services you never requested?"

       8.     The fonn shown in Exhibit 1 also features a link in the bottom right-hand

corner called "terms and conditions." That link directed me to a page listing the "terms

and conditions" shown in Exhibit 2.

       9.     I filled out the form shown in Exhibit I truthfully by selecting the

appropriate drop-down options in response to the two questions, indicating that I was not

overbilled for the price CenturyLink quoted me or for services I did not order.

       10.    After submitting that fonn, I received the "thank you" message shown in

Exhibit 3.

       11.   Shortly after receiving the "thank you" message, I received text message

from 661 -219-7637, which read as follows:




                                             2
   CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 4 of 32




          Hi Robert,
          This is Jeremy Troxel, one of the attorneys helping CenturyLink
          customers get compensation. Please feel free to text or call this number
          with any questions and we will get back to you as soon as possible. I also
          included a link to sign your claim document as well:
          troxellaw.corn/2ZTwDnJ

       12.      That link directed me to the "Questionnaire & Retainer Agreement" shown

in Exhibit 4.

       I 3.     I did not fill out any of the questions shown in Exhibit 4, although some

responses were pre-filled as shown in Exhibit 4. I also did not sign the accompanying

Retainer Agreement in Exhibit 4. Further, I did not respond to the text message I received

or otherwise communicate with any attorney affiliated with this website.


Dated: January 6, 2020                       I hereby declare under the penalty of perjury
                                             that the foregoing is true and correct


                                         -~~
                                             Robert Matthews




                                              3
CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 5 of 32




                   Exhibit 1
    CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 6 of 32




contracts.
CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 7 of 32




                   Exhibit 2
                                                                     Page 1 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 8 of 32




 Troxel                                                                                                            Attorney Advertising
 Law LLP




Terms &
Conditions of Use


      IMPORTANT NOTICE: THIS WEBSITE IS FOR EDUCATIONAL AND INFORMATIONAL PURPOSES ONLY. NO
      ATTORNEY-CLIENT RELATIONSHIP IS FORMED BY YOUR USE OF THIS WEBSITE OR BY ANY COMMUNICATION
      YOU SEND OR RECEIVE THROUGH THIS SITE. THE CONTENT AND FEATURES ON THIS WEBSITE SHALL NOT BE
      CONSTRUED AS LEGAL ADVICE. THE CONTENT AND FEATURES OF THIS WEBSITE, INCLUDING MEANS TO
      SUBMIT A QUESTION OR INFORMATION, DO NOT CONSTITUTE AN OFFER TO REPRESENT YOU.

      ARBITRATION NOTICE: THIS AGREEMENT SPECIFIES THAT DISPUTES RELATED TO THIS WEBSITE WILL BE
      RESOLVED BY BINDING, INDIVIDUAL ARBITRATION AND YOU WAIVE YOUR RIGHT TO PARTICIPATE IN A
      JURY TRIAL, A CLASS ACTION LAWSUIT OR CLASS-WIDE ARBITRATION.

      PLEASE READ THE FOLLOWING TERMS OF SERVICES & LEGAL NOTICES (“THIS AGREEMENT”) CAREFULLY
      BEFORE USING THIS WEBSITE (“the Site”). The website you are visiting is owned and managed by Troxel Law, LLP, 195
      Montague St., 14th Floor, Brooklyn NY, 11201. Any use of this website is subject to the complete Terms of Use, Disclaimers and
      Privacy Policy set forth on this page. The terms tell you about your (and our) rights under this Agreement, explain how we protect
      your privacy, and make certain disclosures required by the law. By using the Site, you give your assent to the terms of this
      Agreement. If you do not agree to these terms, you may not use the Site. Troxel Law, LLP (“We,” “Us,” or “Our”) has the right, in
      our sole discretion, to modify, add or remove any terms or conditions of this Agreement without giving individual notice to you, by
      posting the changes on the Site. Your continuing use of the Site signifies your acceptances of any such changes.

      The law differs in every jurisdiction, and you should not rely on any opinion except that of an attorney you have retained, who has
      a professional duty to advise you after being fully informed of all the pertinent facts, and who is licensed in the applicable state,
      and is familiar with the applicable law. Internet subscribers and online readers should seek professional counsel about their legal
      rights and remedies. You should not act or refrain from acting on the basis of any information found on this website. Any actions
      or decisions about your legal rights should be based on the particular facts and circumstances of your situation, and appropriate
      legal advice from an attorney. Troxel Law, LLP expressly disclaims all liability with respect to actions taken or not taken based
      upon any information or other contents of this site




     Confidentiality is Not Guaranteed
     Any information sent to Troxel Law, LLP via Internet e-mail or through the website is not secure and is done on a non-confidential




https://info.troxellaw.com/terms-and-conditions/                                                                                     1/6/2020
                                                                     Page 2 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 9 of 32


     basis. Troxel Law, LLP respects the privacy of any person who contacts our firm, and we will make reasonable efforts to keep
     information confidentially internally, but because of the nature of Internet communications and the absence of an attorney/client
     relationship, we cannot promise or guarantee confidentiality.

     By submitting information to us, you agree that we may release your contact information and all information that may be submitted
     by you to law firms with whom we partner expressing an interest in possibly pursuing your potential claim(s) and you further agree
     and understand that such law firms may contact you directly should they have any interest in discussing your potential claim(s) with
     you, unless you request in writing your desire not to be contacted. By submitting information to us, you also agree that we may use
     your contact information to send you electronic newsletters. In no event, however, shall we be obligated to release any submitted
     information to law firms with whom we partner, including contact names, but rather may or may not do so at our sole discretion.
     Furthermore, in no event is any law firm obligated to contact you with regard to your potential claim(s), but rather may or may not
     do so at its sole discretion. By accepting the submission of your information, we do not offer any advice on whether you may have a
     legal remedy for your potential claim(s), and make no representation or guarantee that you will obtain satisfaction, justice or
     compensation for your potential claim(s), and we do not offer any opinion whatsoever concerning the merits of any potential claim
     you might have. If, after discussing your specific case with an attorney, the attorney is willing to represent you in the specific matter
     you have presented to them, they will send you a retainer agreement in the mail that you will need to sign and return before they can
     represent you in that specific matter. If either the attorneys or you do not agree in writing to create an attorney-client relationship,
     none will exist. In the meantime, you are encouraged to seek and retain the advice of other counsel if you intend to pursue any
     potential claims to avoid having your potential case barred by relevant statutes of limitation, statutes of repose, and/or other similar
     deadlines by which you must bring a lawsuit or lose the right to do so.




     Privacy Policy
     Your personal information is subject to our Privacy Policy, which is incorporated herein by reference. Please reference our privacy
     policy by clicking HERE.



     Participation in the Site
     You are granted a non-exclusive, non-transferable, revocable license (1) to access and use the Site strictly in accordance with these
     Terms and Conditions; (2) to use the Site solely for internal, personal, non-commercial purposes; and (3) to print out discrete
     information and search results from the Site solely for internal, personal, non-commercial purposes and provided that you maintain all
     copyright and other notices contained therein.

     By submitting information to, reading, participating, or otherwise using the Site, you agree that you will abide by the following rules:

     The Site may only be used in good faith and may not be used to transmit or otherwise make available any information that is false or that
     you do not have a right to make available under any law or under contractual or fiduciary relationships (such as inside information,
     proprietary and confidential information learned or disclosed as part of employment relationships or under nondisclosure agreements),
     to threaten, abuse, harass, or invade the rights of any person or entity, to infringe on any person or entity’s intellectual property rights, or
     in any other way that could reasonably be deemed unethical, illegal, or offensive.

     You may not misidentify yourself or impersonate any person or entity, or falsely state or otherwise misrepresent your affiliation with a
     person or entity (e.g., pretend to be a different person or from a different company or organization).

     Unless you have our prior written consent, you will not post advertisements or promotional materials, solicit participants and/or visitors
     of the Site, reproduce, duplicate, copy, sell, resell or exploit for any commercial purposes, any portion of the Site or its Services, use of
     the Site or it Services, or access to the Site or its Services.

     You are prohibited from using any type of computer “worm,” “virus” or any other device that is intended or is likely to disrupt,
     overload, or otherwise impair the workings of any part of the Site. If you do engage in such conduct, the resulting damage will be hard to
     quantify as a dollar amount and thus you hereby agree to pay us liquidated damages in the amount of $5,000 for each day that the Site is
     damaged until the Site is completely repaired. This amount is derived by estimating the value of (1) the loss of good will caused by an
     inoperable site, (2) the time and money it will take to repair the Site and to address the concerns of visitors. We are required to use
     reasonable efforts to repair the Site as quickly as possible. This clause will not prohibit us from seeking additional compensation if your
     conduct injures us in a way not expressly contemplated herein.

     You are not permitted to collect or store personal data about other users.

     You are not permitted to access the Site for the purpose of data mining or extracting content from the Site beyond your personal end use.

     You may not forge headers or otherwise manipulate identifiers in order to disguise the origin of any Content transmitted through the
     Site.




https://info.troxellaw.com/terms-and-conditions/                                                                                             1/6/2020
                                                                     Page 3 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 10 of 32


     You agree to not harm minors in any way.

     You shall not intentionally or unintentionally violate any applicable local, state, national or international law, including, but not limited
     to, regulations promulgated by the U.S. Securities and Exchange Commission, any rules of any national or other securities exchange,
     including, without limitation, the New York Stock Exchange, the American Stock Exchange or the NASDAQ, and any regulations
     having the force of law.

     In the event you submit information through the Site, you agree to provide true, accurate, current and complete information and agree to
     promptly update the information to keep it true, accurate, current and complete. If you provide any information that is untrue,
     inaccurate, not current or incomplete, and/or we have reasonable grounds to suspect that such information is untrue, inaccurate, not
     current or incomplete, we have the right to suspend or terminate your participation in the Site and/or refuse any and all current or future
     use of the Site or its services (or any portion thereof).

     You understand and agree that all information, statistical data, text, software, music, sound, photographs, graphics, video, messages or
     other materials (Content), whether publicly posted or privately transmitted by you and other users of our service, are the sole
     responsibility of the person from which such Content originated. This means that you, and not us, are entirely responsible for all
     Content that you upload, post, email or otherwise transmit via the Site. We do not control all of the Content posted via the Site and, as
     such, do not guarantee the accuracy, integrity or quality of such Content. You understand that by using the Site, you may be exposed to
     Content that is offensive, indecent or objectionable. Under no circumstances will we be liable in any way for any Content, including,
     but not limited to, for any errors or omissions in any Content, or for any loss or damage of any kind incurred as a result of the use of any
     Content posted, emailed or otherwise transmitted via the Site.

     You acknowledge that we may or may not pre-screen Content, but that we and our designees shall have the right (but not the obligation)
     in our sole discretion to pre-screen, refuse, or move any Content that is available via the Site. Without limiting the foregoing, we and our
     designees shall have the right (but not the obligation) to remove any Content that violates this agreement or is otherwise objectionable.




     Intellectual Property Rights
     You acknowledge and agree that the Site and any necessary software used in connection with the Site may contain proprietary and
     confidential information that is protected by applicable intellectual property and other laws. Except for the limited license contained
     in paragraph 8 below, nothing in these Terms and Conditions grants or should be construed to grant any licenses or rights, by
     implication, estoppel or otherwise, under copyright or other intellectual property rights. You agree that all right, title and interest
     (including all copyrights, trademarks, service marks, patents and other intellectual property rights) in this Site and its content belong
     to us, or our licensors, as applicable. No part of the materials including graphics or logos, available in this site may be copied,
     photocopied, reproduced, translated or reduced to any electronic medium or machine-readable form, in whole or in part, without
     specific permission. Except as expressly authorized by us, you further agree not to modify, rent, lease, loan, sell, distribute or create
     derivative works based on the Site or the software, in whole or in part.




     Information Not Intended to be Medical Advice
     The content provided on this site, such as documents, text, graphics, images, videos, or other materials, are for informational
     purposes only. The information is not intended to be a substitute for professional medical advice, diagnosis, or treatment. Always
     consult a physician for diagnosis and treatment of any medical condition or for any questions you may have regarding a health
     concern. Never disregard professional medical advice or delay in seeking it because of something you have read or seen on this site.
     Links to other sites are provided for information only. Use of trade names is for identification only and does not constitute
     endorsement by the Us.




https://info.troxellaw.com/terms-and-conditions/                                                                                           1/6/2020
                                                                     Page 4 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 11 of 32


     We may periodically change, remove, or add the material in this website without notice. This material may contain technical or
     We      Are Not Responsible for Content
     typographical errors. We assume no liability or responsibility for any errors or omissions in the contents of this website. Your use of
     this website is at your own risk. Under no circumstances shall We or any other party involved in the creation, production or delivery
     of this website be liable to you or any other person for any indirect, special, incidental, or consequential damages of any kind arising
     from your access to, or use of, this website.

     IN NO EVENT SHALL WE BE LIABLE FOR ANY SPECIAL, INDIRECT OR CONSEQUENTIAL DAMAGES RELATING
     TO THIS MATERIAL, FOR ANY USE OF THIS WEBSITE, OR FOR ANY OTHER LINKED WEBSITE.




     Third Party Websites
     This website may contain links to third party websites for the convenience of our users. We do not endorse any of these third party
     sites and does not imply any association between Us and those sites, other than as specifically set forth herein. We do not control
     these third party websites and cannot represent that their policies and practices will be consistent with these Terms of Use,
     Disclaimers and Privacy Policy. If you use links to access and use such websites, you do so at your own risk. We are not responsible
     for the content or availability of any linked sites. These links are provided only as a convenience to the recipient.




     Relationship Among Lawyers
     Troxel Law, LLP lawyers are licensed to practice law only within the state of New York, but we associate on certain types of cases
     with lawyers licensed or otherwise admitted to practice law throughout the United States (the “Attorney Group”). Attorneys and law
     firms associated by Troxel Law, LLP are determined by Troxel Law, LLP, in the professional judgment of its principal, to be
     experienced in and qualified to handle the litigation matters for which they are associated.

     Initial consultations on a particular matter are provided free of cost, and upon agreement with the potential client and in the sole
     discretion of Troxel Law, LLP. Troxel Law, LLP will enter into a contract for legal services with the potential client which
     describes in writing the fee charged for a particular engagement, as well as other terms of the representation, including disclosure
     that other attorneys or law firms may be associated to participate in the representation. If known, the identity of any affiliated
     attorney or law firm that will have a role in the representation will be included in the contract. Otherwise, in the event that counsel is
     associated on a particular matter, the client will be informed and any consent required by applicable rules of professional conduct
     will be obtained.

     All matters are handled on a contingency fee basis, meaning that a client pays no fees or costs unless a recovery is obtained on the
     client’s behalf, unless otherwise requested by You and agreed to by Troxel Law, LLP. Fees paid in the event of a recovery are a
     percentage of the total recovery, as agreed to with the client prior to undertaking the representation and as set forth in the contract
     for legal services, and are intended to be in accordance with standards in the legal services industry and, where applicable, state
     rules of professional responsibility. Costs incurred in the representation are deducted from the client’s portion of any recovery but
     are not required to be paid out of pocket by the client. If there is no recovery, the client will not be responsible for any cost incurred
     in the representation (unless expressly agreed to by the client prior to the cost being incurred). The use of affiliated attorneys or law
     firms does not increase the fee, although other factors may increase the fee.

     Inquiries made through this website are typically responded to by Troxel Law, LLP. We reserve the right to not respond to inquiries
     on this website and may, at its discretion, direct inquiries to other attorneys or law firms without an initial response. In such
     instances, Troxel Law, LLP makes no representation regarding the ability of the responding attorney to represent the potential client
     in accordance with applicable standards of care. Troxel Law LLP may or may not decide to associate as counsel on such cases.

     Telephone calls made or received by Troxel Law, LLP regarding an inquiry made through this website may be recorded for record-
     keeping, training and quality-assurance purposes.




     The laws of each state are different. This website may contain information about general or common rules that apply in some states.
     This website may also contain information about verdicts or settlements in past cases. You cannot assume that the same rules apply,
     or that the same result would occur, in your state or any particular state or case.

     Statutes of limitations are especially important. Every state has laws called the “statute of limitations” which set a deadline to file a
     lawsuit. A lawsuit filed too late may be thrown out, regardless of the defendant’s fault or the severity of the injuries. Some states




https://info.troxellaw.com/terms-and-conditions/                                                                                         1/6/2020
                                                                     Page 5 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 12 of 32


     have a three-year period for negligence injury claims; the time period in other states may be longer or shorter. Because investigation
     and research is needed to identify all possible defendants and theories of recovery, if you have an accident or injury, you should
     consult a lawyer as soon as possible.




     Legal and Ethical Requirements
     Troxel Law, LLP has tried to comply with all legal and ethical requirements in compiling this website. We welcome comments
     about our compliance with applicable rules and will update the site as warranted, upon learning of any new or different
     requirements. We only want to represent clients based on their review of this website if it complies with all legal or ethical
     requirements.

     To the extent that the professional responsibility rules of any jurisdiction require us to designate a principal office or an attorney
     responsible for this website, Troxel Law, LLP designates its office in Troxel Law, LLP, 195 Montague St., 14th Floor, Brooklyn
     NY, 11201, and attorney Jeremy Troxel.




     Honors, Accolades and Recognition
     To the extent that any display of honors, accolades and recognition made on this website are considered attorney advertising, no
     aspect of such advertisement has been approved or sanctioned by the supreme courts or accrediting organizations of any state. The
     inclusion of an honor, accolade or recognition is not intended to compare the services of Troxel Law, LLP or its attorneys with any
     other attorney or law firm, nor is it intended to create an expectation of results that can be obtained in a particular matter. Any
     honor, accolade or recognition that uses the term “super,” “best,” “superior,” “leading,” “top-rated,” or the like, only means that the
     attorney has been included in a list containing that term. It is not intended to convey any superlative ability of the attorney
     recognized.

     The websites of the organizations conferring the honor, accolade or recognition may be linked to from the badge or logo displayed
     on this website, and you are encouraged to visit those websites to learn more about the process by which the Troxel Law, LLP
     attorney was selected. Where the logo of a publication is listed as featuring Troxel Law, LLP or one of its attorneys, you are
     encouraged to perform an author search or other type of search on that website for the information communicated by or about
     Troxel Law, LLP or the Troxel Law, LLP attorney on that website. Alternatively, information about honors, accolades and
     recognition can be provided upon request.




     Disclosures Regarding Attorney Advertising
     Some jurisdictions may consider the Site to be a form of advertising for legal services and as such may require specific disclosures.
     Please read the following carefully:

     THIS IS AN ADVERTISEMENT. The determination of the need for legal services and the choice of a lawyer are extremely important
     decisions and should not be based solely upon advertisements. Anyone considering a lawyer should independently investigate the
     lawyer’s credentials and ability, and not rely upon advertisements or self-proclaimed expertise. Hiring a lawyer is an important process
     that should not be based solely upon advertisements.

     The attorney responsible for the content of this Site is Jeremy Troxel, of Troxel Law, LLP, Troxel Law, LLP, 195 Montague St., 14th
     Floor, Brooklyn NY, 11201. The member attorneys of Troxel Law, LLP are licensed to practice law only in New York.

     Troxel Law, LLP does not operate as a lawyer-advertising cooperative, lawyer referral service, prepaid legal insurance provider, or
     similar organization the business or activities of which include the referral of customers, members, or beneficiaries to lawyers for the
     performance of fee-generating legal services or the payment for or provision of legal services to the customers, members, or
     beneficiaries in matters for which they do not bear ultimate responsibility. While Troxel Law, LLP maintains joint responsibility for
     and participates in cases obtained as a result of advertising on the Site, such cases may be referred to other attorneys for principal
     responsibility and participation.

     FREE BACKGROUND INFORMATION AVAILABLE UPON REQUEST

     Before you decide to hire Troxel Law, LLP, ask them to send you free written information about their qualifications and experience.
     Additional information about the lawyers or firms may also be obtained by contacting the Bar Association in the State in which such
     lawyers or law firms are licensed. No representation is made that the quality of the legal services to be performed is greater than the
     quality of legal services performed by other lawyers. Memberships and offices in legal fraternities and legal societies, technical and
     professional licenses, and memberships in scientific, technical and professional associations and societies of law or fields of practice
     do not mean that a lawyer is a specialist, expert, authority or is certified in a particular field of law, nor do such memberships or licenses
     mean that such a lawyer is more expert or competent than any other lawyer.




https://info.troxellaw.com/terms-and-conditions/                                                                                            1/6/2020
                                                                     Page 6 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 13 of 32


     A description or indication of limitation of practice does not mean that any agency or board has certified such lawyer as a specialist,
     expert or authority in an indicated field of law practice, nor does it mean that such lawyer is more expert or competent than any other
     lawyer. We urge all potential clients to make their own independent investigation and evaluation of any lawyer being considered.

     Except where otherwise indicated, neither Troxel Law, LLP nor any of the lawyers or law firms in the Attorney Group are certified by
     the Florida Bar Board of Legal Specialization and Education, the Texas Board of Legal Specialization (“Not Certified by the Texas
     Board of Legal Specialization”), or any other entity or body. The fact that certain attorneys or firms concentrate their practices to
     plaintiffs’ class actions, labor & employment, or consumer claims (or any other field) is not meant to imply that they have gained any
     specific type of certification in these areas. Indeed, many states do not recognize certifications of specialties in the practice of law and
     explicitly state that any such certificate, award or recognition is not a requirement to practice law in those states.

     Because some material on this website may be found to constitute attorney advertising, and because this website may be viewed from
     anywhere in the United States, particular disclosures may be required by the rules of some states. To the extent applicable, the
     Companies adopt and make the following disclosures:

     Alabama: No representation is made that the quality of the legal services to be performed is greater than the quality of legal services
     performed by other lawyers.

     Alaska: The Alaska Bar Association does not accredit or endorse certifying organizations.

     Arizona: ATTORNEY ADVERTISING. No representation is made promising or guaranteeing a particular outcome or result. Any
     attorneys claiming certification in an area of law are certified by the Arizona Board of Legal Specialization.

     Colorado: Colorado does not certify attorneys as specialists in any field.

     Florida: The hiring of a lawyer is an important decision that should not be based solely upon advertisements. Before you decide, ask us
     to send you free written information about our qualifications and experience.

     Hawai’i: The Supreme Court of Hawai’i grants Hawai’i certification only to lawyers in good standing who have successfully
     completed a specialty program accredited by the American Bar Association.

     Illinois: The Supreme Court of Illinois does not recognize certifications of specialties in the practice of law and that the certificate,
     award or recognition is not a requirement to practice law in Illinois.

     Iowa: The determination of the need for legal services and the choice of a lawyer are extremely important decisions and should not be
     based solely upon advertisements or self-proclaimed expertise. This disclosure is required by rule of the Supreme Court of Iowa.

     NOTICE TO THE PUBLIC: Memberships and offices in legal fraternities and legal societies, technical and professional licenses, and
     memberships in scientific, technical and professional associations and societies of law or field of practice do not mean that a lawyer is a
     specialist or expert in a field of law, nor do they mean that such a lawyer is necessarily any more expert or competent than any other
     lawyer. All potential clients are urged to make their own independent investigation and evaluation of any lawyer being considered.
     This notice is required by rule of the Supreme Court of Iowa.

     Kentucky and Oregon: THIS IS AN ADVERTISEMENT.

     Massachusetts: If a Massachusetts lawyer holds himself or herself out as “certified” in a particular service, field or area of law by a
     non-governmental body, the certifying organization is a private organization, whose standards for certification are not regulated by the
     Commonwealth of Massachusetts.

     Mississippi: The Mississippi Supreme Court advises that a decision on legal services is important and should not be based solely on
     advertisements.

     Missouri: ADVERTISING MATERIAL: COMMERCIAL SOLICITATIONS ARE PERMITTED BY THE MISSOURI RULES OF
     PROFESSIONAL CONDUCT BUT ARE NEITHER SUBMITTED TO NOR APPROVED BY THE MISSOURI BAR OR THE
     SUPREME COURT OF MISSOURI. Neither the Supreme Court of Missouri nor the Missouri Bar reviews or approves certifying
     organizations or specialist designations.

     Nevada: Neither the state bar of Nevada nor any agency of the State Bar has certified any lawyer identified here as a specialist or as an
     expert. Anyone considering a lawyer should independently investigate the lawyer’s credentials and ability.

     New Jersey: ATTORNEY ADVERTISEMENT — NOT A REFERRAL SERVICE. Before making your choice of an attorney, you
     should give this matter careful thought. The selection of an attorney is an important decision. Any certification as a specialist, or any
     certification in a field of practice, that does not state that such certification has been granted by the Supreme Court of New Jersey or by
     an organization that has been approved by the American Bar Association, indicates that the certifying organization has not been
     approved, or has been denied approval, by the Supreme Court of New Jersey and the American Bar Association.

     New Mexico: LAWYER ADVERTISEMENT. Any certification by an organization other than the New Mexico Board of Legal
     Specialization does not constitute recognition by the New Mexico Board of Legal Specialization, unless the lawyer is also recognized
     by the board as a specialist in that area of law.

     New York: ATTORNEY ADVERTISING. Prior results do not guarantee a similar outcome.




https://info.troxellaw.com/terms-and-conditions/                                                                                            1/6/2020
                                                                     Page 7 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 14 of 32


     Rhode Island: The Rhode Island Supreme Court licenses all lawyers in the general practice of law. The court does not license or
     certify any lawyer as an expert or specialist in any field of practice.

     Tennessee: None of the attorneys in this firm are certified as a Civil Trial, Criminal Trial, Business Bankruptcy, Consumer
     Bankruptcy, Creditor’s Rights, Medical Malpractice, Legal Malpractice, Accounting Malpractice, Estate Planning or Elder Law
     specialist by the Tennessee Commission on Continuing Legal Education and Specialization. Certification as a specialist in all other
     listed areas is not currently available in Tennessee.

     Texas: Unless otherwise stated, our attorneys claiming certification in an area of law are not certified by the Texas Board of Legal
     Specialization.

     Washington: The Supreme Court of Washington does not recognize certification of specialties in the practice of law and that the
     certificate, award, or recognition is not a requirement to practice law in the State of Washington.

     Wyoming: The Wyoming State Bar does not certify any lawyer as a specialist or expert. Anyone considering a lawyer should
     independently investigate the lawyer’s credentials and ability, and not rely upon advertisements or self-proclaimed expertise.

     Except on pages containing information about a particular attorney or as otherwise noted, individuals depicted in photographs on this
     website are not affiliated with the Us in any capacity, and their depiction is not intended in any way to create an unreasonable
     expectation of results that might be obtained in a particular case. Such individuals are actors, and they are depicted in stock
     photographs that have been properly licensed by Us. Any user is prohibited from downloading photographs on this website for any
     reason other than for personal use, including but not limited to retransmitting, reproducing or otherwise engaging in unauthorized use
     of the photographs.

     The material on this site is not intended to, and does not, include any advertisements for legal services that contain dramatizations,
     testimonials or endorsements. This site is intended to provide useful, factual information presented in a non-sensational, objective and
     understandable manner. The images and pictures on this site are not meant to represent or depict actual persons or events, but rather are
     merely provided for illustrative purposes only.

     This Site is not intended for the purpose of advertising legal services to be performed in any state solely by Troxel Law, LLP or other
     attorney members of the Attorney Group, unless they are specifically licensed to practice in that respective State.

     To the extent that this Site does not comply with the laws or regulations of any jurisdiction in which it may be received, Troxel Law,
     LLP does not wish to, and will not knowingly, accept legal representation based on or resulting from the use of the Site from a person
     located in that jurisdiction. Troxel Law, LLP, does not wish to, and will not knowingly, accept legal representation based on or
     resulting from the use of the Site from a person located outside the United States.




     Website Comment Policy



https://info.troxellaw.com/terms-and-conditions/                                                                                        1/6/2020
                                                                     Page 8 of 13
     CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 15 of 32


     While not all pages or posts on this website will be open to comments, comments are otherwise welcomed and encouraged.
     However, comments containing the following may be edited or deleted, at our sole discretion: Spam or questionable spam; profane,
     derogatory or defamatory language; offensive language or concepts; attacks either on a person individually or the Companies. Users
     submitting comments that violate this comment policy may be banned from further commenting on this website.

     Whether a page or post is open to comments is in our sole discretion. We reserve the right, without notice, to pre-approve, edit or
     delete any comments for any reason.

     A posted comment should not be deemed to have been approved or endorsed Us, and We take no responsibility for the content of a
     posted comment. If you believe a posted comment is defamatory to you or others, constitutes speech not protected under law, or is
     in violation of this comment policy, you are encouraged to contact Us in the manner provided for on this page to express your
     concern.

     This comment policy is subject to change at any time, with or without notice to the users of the website.




     Governing Laws in Case of Dispute; Jurisdiction, Binding Arbitration
     These Terms of Use and Disclaimers shall be governed by and construed in accordance with the laws of the State of New York
     without regard to any choice of law principles.

     In the event of any dispute, controversy, or claim between us (or our respective heirs, successors, assigns, or affiliates) arising out
     of, relating to, or in connection with your use of this Site and/or the relationship between you and us (a “dispute”), you and we
     waive the right to seek remedies in court, including the right to a jury trial, and agree to submit said dispute exclusively to binding
     individual arbitration conducted by a single arbitrator subject to the rules of the American Arbitration Association (“AAA”). The
     arbitrator shall not have the authority to decide any claims as a class, collective, or representative action. The seat of the arbitration
     will be in New York, New York unless AAA determines that this location will impose undue hardship, in which case the location
     will be set by AAA. The parties will share the expense of arbitration equally, except that if you represent that this would impose an
     undue hardship, you will initially be responsible only for a filing fee equal to the amount that would be necessary to file your claim
     in court. In that event, we will advance the remaining fees and expenses on your behalf and the arbitrator will determine any
     additional amount you can pay without sustaining undue hardship. Threshold issues of arbitrability shall be decided by the
     arbitrator, including the scope of this agreement and whether a controversy or claim arises out of or relates to your engagement of
     us.




    Disclaimer of Warranties
    YOU EXPRESSLY UNDERSTAND AND AGREE THAT:

    YOUR USE OF THE SITE IS AT YOUR SOLE RISK. ALL CONTENT AND SERVICES ON THE SITE IS PROVIDED
    SOLELY ON AN “AS-IS/AS-AVAILABLE” BASIS. TO THE EXTENT PERMITTED BY APPLICABLE LAW, WE
    EXPRESSLY DISCLAIM ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
    LIMITED TO THE IMPLIED WARRANTIES AND CONDITIONS OF MERCHANTABILITY, SATISFACTORY QUALITY,
    FITNESS FOR A PARTICULAR PURPOSE OR USE AND NON-INFRINGEMENT. WITHOUT LIMITING THE
    GENERALITY OF THE FOREGOING, WE MAKE NO REPRESENTATION OR WARRANTY THAT (i) THE CONTENT
    AND SERVICE OF THIS SITE WILL MEET YOUR REQUIREMENTS, (ii) THE CONTENT AND SERVICE OF THIS SITE
    WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE, (iii) THE RESULTS THAT MAY BE OBTAINED
    FROM THE USE OF THE SITE WILL BE ACCURATE OR RELIABLE, OR (iv) THE QUALITY OF ANY PRODUCTS,
    SERVICES, INFORMATION, OR OTHER MATERIAL PURCHASED OR OBTAINED BY YOU THROUGH THE SITE IS
    ACCURATE OR WILL MEET YOUR EXPECTATIONS.

    WE DO NOT GUARANTY THE ACCURACY OR COMPLETENESS OF ANY CONTENTOR SERVICES AND WE DO NOT
    GUARANTY IN ANY SERVICES OR GOODS ASSOCIATED WITH THE SITE WILL BE ERROR-FREE OR
    UNINTERRUPTED, OR THAT ANY SERVICE OR GOOD WILL CONTINUE TO BE AVAILABLE.

    ANY MATERIAL DOWNLOADED OR OTHERWISE OBTAINED THROUGH THE USE OF THE SERVICE IS DONE AT
    YOUR OWN DISCRETION AND RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR ANY DAMAGE TO
    YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT RESULTS FROM THE DOWNLOAD OF ANY SUCH MATERIAL.

    NO INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM US OR THROUGH OR FROM THE
    SITE SHALL CREATE ANY WARRANTY NOT EXPRESSLY STATED IN THIS AGREEMENT.




https://info.troxellaw.com/terms-and-conditions/                                                                                         1/6/2020
                                                                      Page 9 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 16 of 32




    Limitation of Liability




    Exclusions and Limitations
    THE ABOVE EXCLUSIONS OF WARRANTIES AND LIMITATIONS OR EXCLUSIONS OF LIABILITY APPLY TO THE
    EXTENT PERMITTED BY APPLICABLE LAW.


    Entire Agreement
    This agreement constitutes the entire agreement between you and us and governs your use of the Site, superseding any prior
    agreements between you and us. You also may be subject to additional terms and conditions that may apply when you use or
    purchase certain other services, affiliate services, third-party content or third-party software.

    The section titles in this agreement are for convenience only and have no legal or contractual effect.


    Waiver and Severability Terms
    Our failure to exercise or enforce any right or provision of this agreement shall not constitute a waiver of such right or
    provision. If any provision of the agreement is found by a court of competent jurisdiction to be invalid, the parties
    nevertheless agree that the court should endeavor to give effect to the parties’ intentions as reflected in the provision,
    and the other provisions of the agreement shall remain in full force and effect.

    Statute of Limitation
    You agree that regardless of any statute or law to the contrary, any claim or cause of action arising out of or related to
    use of this Site, this agreement and/or the relationship between you and us must be filed within one (1) year after such
    claim or cause of action arose or be forever barred.

    Attorney Ethics Notice
    If you are an attorney participating in any aspect of this Site, you acknowledge that rules of professional conduct apply to all aspects
    of your participation and that you will abide by such rules. The rules include, but are not limited to, the rules relating to advertising,
    solicitation of clients, unauthorized practice of law, and misrepresentations of fact. We disclaim all responsibility for your
    compliance with these rules.


    Nature of Investigations and Allegations
    This Site may describe companies that are currently being investigated by private attorneys or have been subject to lawsuits or other
    allegations of misconduct by the companies. The fact that these companies are being investigated or have been subject to lawsuits or
    allegations of misconduct does not mean to state or imply that they have in fact committed any illegal or improper act.




                                YOUR CALIFORNIA PRIVACY RIGHTS



https://info.troxellaw.com/terms-and-conditions/                                                                                        1/6/2020
                                                                     Page 10 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 17 of 32



   A business subject to California Civil Code Section 1798.83 is required to disclose to its California customers, upon request, the
   identity of any third parties to whom it has disclosed personal information within the previous calendar year for the third parties’
   direct marketing purposes, along with the type of personal information disclosed.

   If you are a California resident and would like to make such a request, please submit your request in writing to
   info@TroxelLaw.com




                                                      PRIVACY POLICY

  Troxel Law, LLP is committed to protecting your privacy. Please read the following Privacy Policy to understand how your
  personal information will be treated as you use this website. When you use this website, you consent to the use of your personal
  information by the companies in the manner specified in this Privacy Policy. This policy may change periodically, so please check
  back from time to time. The date of the last update to this Privacy Policy was April 28, 2019. By using this site, you agree to the
  terms of this policy. Any changes will be effective immediately upon the posting of the revised Privacy Policy unless otherwise
  specified and your continued use of the this website after the effective date of the revised Privacy Policy will constitute your consent
  to those changes.

  Note: If you are under 18 years old or reside in a country other than the United States of America, you may not use this site.




  Information We Collect Automatically
  As with most websites, if you visit our website to browse, read, or download information:

  Your web browser automatically sends us (and we may retain) information such as the:

  Internet domain through which you access the Internet (e.g., yourServiceProvider.com if you use a commercial Internet service
  provider, or yourSchool.edu if you use an Internet account from your school);

  Internet Protocol address of the computer you are using;

  Type of browser software and operating system you are using;

  Date and time you access our site; and

  The Internet address of the site from which you linked directly to our site.

  We will use this information as aggregate data to help us maintain this site, e.g., to determine the number of visitors to different
  sections of our site, to ensure the site is working properly, and to help us make our site more accessible and useful.

  We will not use this information to identify individuals, except for site security, to follow up with you directly regarding the subjects
  addressed on this Site, or law enforcement purposes.

  We will not obtain personally identifying information about you when you visit our site, unless you choose to provide such
  information.




  Other Information We Collect
  If you choose to identify yourself (or otherwise provide us with personal information) when you use our online forms:

  We will collect (and may retain) any personally identifying information, such as your name, street address, email address, and phone
  number, and any other information you provide. We will use this information to try to fulfill your request and may use it provide
  you with additional information at a later time. We will not disclose such information to third parties, except as specified in this
  privacy policy.

  If you request information, services, or assistance, we may disclose your personal information to those third parties, including
  affiliated counsel, who (in our judgment) are appropriate in order to fulfill your request. If, when you provide us with such




https://info.troxellaw.com/terms-and-conditions/                                                                                         1/6/2020
                                                                      Page 11 of 13
       CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 18 of 32


  information, you specify that you do not want us to disclose the information to third parties, we will honor your request. Note,
  however, that if you do not provide such information, it may be impossible for us to refer, respond to or fulfill your request.

  If your communication relates to a law enforcement matter, we may disclose the information to law enforcement agencies that we
  deem appropriate.

  If you wish to request or provide changes to the personal information you have provided to us, please send an email with “Personal
  Information Request Change” in the subject line to info@TroxelLaw.com




  How Long We Keep Information
  We may keep information that we collect for as long as we determine is reasonably necessary.


  How We Protect Your Information
  How we protect your information: We only disclose personally identifiable information about individual users in accordance with
  this Privacy Policy and our Terms and Conditions, or when we have a good-faith belief that such action is necessary to comply with
  applicable laws, valid legal process, a court order, a current judicial proceeding, or to protect our rights or property. We also
  disclose personally identifiable individual information and the other information you provide us to lawyers or law firms with whom
  we are affiliated and who are interested in determining whether your submission could form the basis of a lawsuit or entitle you to
  relief under a pending lawsuit. Such lawyers or law firms agree to keep your information confidential and agree not to share it with
  any third party without your express permission. We may also provide aggregate statistical information (such as the city or state you
  live in) to third parties to describe our services to prospective partners, advertisers, and other third parties, and for other lawful
  purposes. We will not, however, disclose any personally identifiable information to these parties.

  Please keep in mind that whenever you voluntarily disclose personal information online – for example on message boards, through
  e-mail, or in chat areas – that information can be collected and used by others. We do not, however, include any personally
  identifiable information on our message boards unless you specifically include it in the content of your posting. If you are an
  attorney submitting information, we will not disclose any information to any third party without your express permission.




  Security
  Please note that electronic communication, particularly email, is not necessarily secure against interception. Please do not send
  sensitive data (e.g., Social Security, bank account, or credit card numbers) by email or web form.


  Cookies
  We may use cookies in order to customize this site for return visitors. These cookies are not required for site functionality.
  Additionally, third-party widgets may install cookies depending on their configuration. You are not required to accept any cookies
  to use this site.



  Google Analytics
  We may use a tool called “Google Analytics” to collect information about use of this site. Google Analytics collects information
  such as how often users visit this site, what pages they visit when they do so, and what other sites they used prior to coming to this
  site. We use the information we get from Google Analytics only to improve this site. Google Analytics collects only the IP address
  assigned to you on the date you visit this site, rather than your name or other identifying information. We do not use Google
  Analytics to collect personally identifiable information. Although Google Analytics plants a permanent cookie on your web browser
  to identify you as a unique user the next time you visit this site, the cookie cannot be used by anyone but Google. Google’s ability to
  use and share information collected by Google Analytics about your visits to this site is restricted by the Google Analytics Terms of
  Use and the Google Privacy Policy. You can prevent Google Analytics from recognizing you on return visits to this site by disabling
  cookies on your browser.




  Express Written Consent to Receive Text
  Messages and Automated Calls
  You provide us and our designees and agents your express permission and authorization to send text messages and automated calls
  to the number or numbers you provide to us or our agents during the intake process and thereafter. You represent that you are the




https://info.troxellaw.com/terms-and-conditions/                                                                                      1/6/2020
                                                                     Page 12 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 19 of 32


  subscriber of those numbers and have the authority to give such consent. By executing this agreement, you authorize us to deliver or
  cause to be delivered to you telemarketing calls using an automatic telephone dialing system or an artificial or prerecorded voice.
  You may revoke this consent at any time while speaking to us or our agents, by sending an email with “TCPA Consent Revocation”
  in the subject line to info@TroxelLaw.com, or by mail sent to Troxel Law, LLP, 195 Montague St., 14th Floor, Brooklyn, NY
  11201. You further understand that you are not required to consent to receipt of calls or text messages containing an artificial or
  prerecorded voice or sent using an automatic telephone dialing system in order to engage Troxel Law, LLP as your attorney.




  How We Respond to "Do Not Track Signals
  Note that your browser settings may allow you to automatically transmit a “Do Not Track” signal to websites and online services
  you visit. Troxel Law’s websites honor when they receive a “Do Not Track” request from a visitor’s browser.



  Other Privacy Matters
  Information From Children: The Companies do not direct their websites to children under thirteen (13) years of age. Individuals
  under eighteen (18) should not use this website.

  Monitoring, Enforcement, and Legal Requests: The Companies are not obligated to monitor this website or its use, or to retain the
  content of any user session. However, the Companies reserve the right at all times to monitor, review, retain, and/or disclose any
  information as necessary to satisfy any applicable law, regulation, legal process, or governmental request, or to cooperate with law
  enforcement and other authorities in investigating a claim of illegal activity. We may use IP addresses to identify a user when we
  feel it is necessary to protect our service, website, clients, potential clients, or others.

  Other Websites: Except as otherwise expressly discussed in this Privacy Policy, this policy only addresses the Companies’ use and
  disclosure of information we collect from you. To the extent that you disclose personal information to other websites, you are
  subject to the privacy customs and policies of those other sites. We encourage you to ask questions before you disclose any personal
  information.

  Transmission Errors or Unauthorized Acts: No data transmission over the Internet can be guaranteed to be 100 percent secure.
  While we strive to protect your personal information, the Companies cannot ensure or warrant the security of any information you
  transmit to us or any information provided online, and you do so at your own risk. The Companies will not be liable for disclosures
  of your personal information due to errors in transmission or unauthorized acts of third parties. Once we receive your transmission,
  we will do our best to ensure its security on our systems by making reasonable efforts to protect the information.

  Security: Any information provided to the Companies is treated with care and discretion. The Companies will take a proactive
  approach to ensure the information is kept private and is not misused.




  Questions About Website Privacy Policy
  We pursue a full-disclosure approach to responsibly care for the information you have entrusted with us, and we depend on
  information sharing as our principal means to best serve you. We will continually monitor feedback and seek to improve our
  services to meet your needs. If you have any questions about this Privacy Policy or the practices of this website, or if you would like
  to provide comments, please contact us using our online forms, by telephone at (312) 356-3200, by email info@TroxelLaw.com or
  by regular mail at Troxel Law, LLP, 195 Montague St., 14th Floor, Brooklyn NY, 11201.




                                               CLIENT PRIVACY POLICY


  Privacy Policy Notice. We value our clients’ privacy and attempt to protect the confidentiality of the personal information clients
  have given us to the extent practicable. Under federal law, attorneys, like other professionals who advise clients on personal
  financial matters, are required to inform their clients of their policies regarding privacy of client information. In addition to the
  document security measures described above, we are bound by professional standards of confidentiality found in Rule 1.6 of the
  New York Rules of Professional Conduct, which are even more stringent than those required by federal law. Non-lawyer assistants




https://info.troxellaw.com/terms-and-conditions/                                                                                      1/6/2020
                                                                     Page 13 of 13
      CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 20 of 32


  we engage to assist us on matters, and who work under our supervision, are likewise bound and, as noted above, are required to
  review, confirm their understanding of, and adhere to our office’s policies regarding ethics, confidentiality and privilege.

  In the course of providing our clients advice concerning income and other taxes, estate and personal financial planning, employment
  questions and personal debt issues, we may receive significant nonpublic personal financial information from our clients. All
  information that we receive from you is held in confidence, and is not released to people outside of our supervision, except as
  agreed to by you, or as required under an applicable law or under the New York Rules of Professional Conduct.

  We retain records relating to professional services that we provide so that we are better able to assist you with your personal needs
  and, in some cases, to comply with professional guidelines. In order to guard your privacy, we restrict access to nonpublic personal
  information about only to those who need to know that information to provide services to you or on your behalf.




                                                        Troxel Law, LLP
                                   195 Montague St., 14th Floor, Brooklyn, NY 11201.
                                  Phone: (312) 356-3200 Email: info@TroxelLaw.com




    YOU EXPRESSLY UNDERSTAND AND AGREE THAT WE SHALL NOT BE LIABLE FOR ANY, INDIRECT,
    INCIDENTAL, SPECIAL, CONSEQUENTIAL OR EXEMPLARY DAMAGES, INCLUDING BUT NOT LIMITED TO,
    DAMAGES FOR LOSS OF REVENUES, PROFITS, GOODWILL, USE, DATA, FAILURE TO REALIZE EXPECTED
    SAVINGS, OR OTHER INTANGIBLE LOSSES (EVEN IF WE HAVE BEEN ADVISED OF THEPOSSIBILITY OF SUCH
    DAMAGES), RESULTING FROM: (i) THE USE OR THE INABILITY TO USE THE SITE; (ii) THE COST OF
    PROCUREMENT OF SUBSTITUTE GOODS AND SERVICES RESULTING FROM ANY GOODS, DATA, INFORMATION
    OR SERVICES PURCHASED OR OBTAINED OR MESSAGES RECEIVED OR TRANSACTIONS ENTERED INTO
    THROUGH OR FROM THE SITE; (iii) INVALID DESTINATIONS, TRANSMISSION ERRORS, OR UNAUTHORIZED
    ACCESS TO OR ALTERATION OF YOUR TRANSMISSIONS OR DATA; (iv) STATEMENTS OR CONDUCT OF ANY
    THIRD PARTY ON THE SITE; (v) YOUR FAILURE TO RECEIVE ANY THIRD PARTY SERVICES OR PRODUCTS
    REQUESTED THROUGH THE SITE OR (vi) ANY OTHER MATTER RELATING TO THE SITE. IN NO EVENT ARE WE
    LIABLE TO YOU FOR AN AMOUNT IN EXCESS OF THE AMOUNT PAID BY YOU TO US FOR THE SERVICES IN
    QUESTION, IF ANY.




https://info.troxellaw.com/terms-and-conditions/                                                                                     1/6/2020
CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 21 of 32




                    Exhibit 3
CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 22 of 32
CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 23 of 32




                    Exhibit 4
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 24 of 32
     Troxel
    I Law LLP                                                                    Keller I Lenkner

                          CenturyLink Overbilling Compensation Claims



    Dear 

    Thank you for the opportunity to represent you in getting
    compensation for CenturyLink’s overbilling practices. We take this
    responsibility seriously and will do our best to help you receive fair
    compensation.

    The following documents are a questionnaire and our
    representation agreement. This agreement explains the scope of
    the work we will do as your attorneys.

    If you have any questions or experience any difficulties completing
    this document, feel free to email us at:
    attorneys@centurylinkclaims.com. Or you can call our office at
    (800) 597-9765.

    Best regards,



    Jeremy Troxel
    Founding Partner
    Troxel Law, LLP
    Jeremy@centurylinkclaims.com




    About Your Legal Team-

    Keller Lenkner LLC – Keller Lenkner is a law firm located in Chicago that represents consumers,
    employees, investors, and other plaintiffs in complex litigation across the country. You can learn
    more at www.kellerlenkner.com.

    Troxel Law LLP – Troxel Law and its founder Jeremy Troxel represent injured consumers,
    employees, patients and other plaintiffs all over the United States. Troxel Law is currently building
    out its website. You can learn more about Jeremy at the website of his other law firm, Troxel,
    Krauss & Chapman, located at tkclaw.com.


                   '/+ )#)                            $'
          DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A

CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 25 of 32
            Troxel
           I Law LLP                     Keller I Lenkner
                                   +(($*%$* ,"+           



                       CenturyLink Overbilling Compensation Questions

              To help us with your claim, please answer the
              below questions to the best of your ability. Once
              you have completed everything a copy will be sent
              to your email.

              Overbilling Questions

              What was the monthly price you were quoted when
              you signed up for service with CenturyLink?

              $

              On average, what was your actual monthly bill after
              you signed up?

              $

              Did you wind up paying that higher price?
                   Yes
              Was any of this increase based on extra services you
              requested after signing up?
                                                              %(#+"%(
                                                              *+"
                   No                                         %,(!""


              How much?

              $

              For how many months did you pay the higher price?


              When was the last time that you paid the higher
              price?


              Did CenturyLink place a negative report on your
              credit because of the overcharges?
                                                                       


               

              Customer Service Questions

              Did you complain to CenturyLink about these
              overcharges?
               
              Did CenturyLink refund your money?
                                                          
               
           DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A


CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 26 of 32

               Informational Questions

               The answers to these questions are essential
               because they allow us to keep in touch with you
               and, eventually, will allow CenturyLink to find
               your account records and determine how much
               they owe you.


               What is your date of birth?


               What is your current address?

               Street:

               City:

               States:                                                  Zip:


               What is the name associated with your CenturyLink
               account?


               What is the phone number associated with your
               CenturyLink account?


               Was the address associated with your CenturyLink
               account the same as your current address?
                
               What is the address associated with your CenturyLink
               account?

               Street:

               City:

               States:                                                  Zip:

               Have you previously consulted with or hired another
               lawyer to bring a legal claim against CenturyLink?
                                                                    
                


           ")(,!-* $)-()*%* 
           '+)*!%$)%, $.%+(%$
           &")&())* %$!(#+**%$
           "%-
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 27 of 32


                                        CenturyLink Compensation Claims
                                              Retainer Agreement

    This agreement is between you, the client, on the one hand, and, on the other, Keller Lenkner LLC and
    Troxel Law LLP, the attorneys or us.

     1. Scope of Representation

     We will represent you to the best of our ability and comply with all professional
     standards of competence and integrity.

           We agree to represent you in investigating and, if appropriate in the attorneys’ opinion, filing
    an individual arbitration asserting consumer fraud and/or related claims against CenturyLink, Inc. and,
    if appropriate, its subsidiaries or affiliates (collectively, the “Company”).

           The attorneys shall have no obligation to represent you in any other matter, and no obligation
    to handle any appeal of any decision in this matter. If we think it will help reach a successful
    resolution of your claims, we may also pursue resolution of your claims outside of or before initiating
    arbitration, including in court.

    2. Attorneys’ Fees
                  IF

    You will not owe the attorneys anything unless we are successful in collecting a recovery,
    payment to you, or settlement for your claim.

            You have the right to accept or reject any settlement offer made to you.

            Under no circumstances will the attorneys collect an unreasonably large fee.

           If your case does not result in a recovery to you, then the attorneys will collect no fee and you
    will owe nothing. If your case results in a recovery to you, then you will still not have to pay any costs
    or fees out of your own pocket, but the attorneys will collect a fee from the Company as follows:

           If your case resolves before the commencement of an arbitration or court case in which you
    are a named party, then the attorneys will collect a flat-fee of $750 in exchange for preparing your
    claim for filing, making a demand of the Company, and negotiating the resolution. "Commencement"
    means, for an arbitration, the payment of all filing fees and the appointment of an arbitrator. For a
    court case, it means the filing of the case with a court. You will never have to pay these fees and costs
    out of your own pocket. If you win your claim, the law requires the Company to pay you these fees
    and costs in addition to the damages and penalties the Company owes you. The attorneys will collect
    these fees from the Company as part of any award or settlement and deduct them from the total
    recovery as their fee. You will be entitled to retain the full recovery net of this fee. You agree that
    $750 is a reasonable fee reflective of the time, effort, expense, and skill the attorneys will put into
    your case to get it to the point of pre-commencement resolution.

           If your case resolves after commencement, then the attorneys will collect a lodestar-based
    reasonable attorney's fee and recover their litigation costs from the Company under any applicable
    fee-shifting law. Again, the attorneys will collect this fee from the Company, not from you. "Lodestar"
    means the amount of money that results when you multiply the attorneys' hourly rates by the
    number of hours the attorneys’ spend on your case. You authorize the attorneys to pursue this fee by
    asking any court or arbitrator for it and you agree that it will belong to the attorneys.

          You acknowledge that this fee is negotiable and is the result of an arm’s length transaction
    between you and the attorneys.
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 28 of 32



          You grant the attorneys a lien to secure payment of the fees and expenses described by this
    agreement.

           Even though you will pay nothing unless you recover, some states’ laws require that we
    disclose to you our regular hourly rates. The hourly rates for the attorneys and other billing
    professional staff who may work on your case range from $100 for junior paralegal staff to $950 per
    hour for senior partners. The attorneys reserve the right to update these rates on 60-days written
    notice to you.

          The attorneys will divide any fee recovered between them, with 10% going to Troxel Law LLP
    and the rest to Keller Lenkner LLC.

    3. Direction 'itS
                 to Settle at Full V
                           ailF    Value

            The attorneys will work to get you the maximum amount allowed under the law. By signing
    this Agreement, you instruct the attorneys to, without further direction or authorization from you,
    accept a “full-value” settlement offer. A full-value settlement offer is any settlement offer made to
    you by the Company that:
        x pays to you an amount equal to or more than the amount of any overpayments you made to
           paid to the Company in the past 36 months. Based on the information you provided, this
           amount is $
        x requires you to release only those claims against the Company related to its billing practices;
           and
        x requires you to keep the terms of the settlement confidential, meaning that you will not
           disclose them except to your immediate family, lawyers, and tax or financial professionals.

        You may revoke or change this instruction by sending an email with your new instructions
    to centurylinkclaims@klclientservices.com. If you do not revoke or change this instruction and we
    accept, on your behalf, a qualifying settlement, then we will execute the necessary paperwork on your
    behalf and direct payment to the address we have on file for you.

    4. Client’s Duties
                D

          a. Contact Information – You agree to inform the attorneys by email to
    centurylinkclaims@klclientservices.com if you change your address, phone number, or email address.
    You agree to do so within two weeks of the change.

           b. Participation in Discovery – You may be required to locate and produce documents, answer
    written questions, or appear at a time and place to answer questions under oath. You agree to make
    yourself available to do these things on reasonable notice.

          c. Participation in Hearing or Trial – You agree to make yourself available to participate in a
    hearing or trial on your claims on reasonable notice.

          d. Document Preservation – You must not destroy, delete, or discard documents and other
    information sources in your possession that are relevant to your potential claims. This includes
    physical, paper documents and electronic documents like email or social media posts, whether on a
    computer, phone, or other device.

           You agree and acknowledge that your failure to fulfill any of these duties is grounds for the
    attorneys to stop representing you.
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 29 of 32


    5. Third-Party Liens
                   l

           Certain third parties may have, or may assert in the future, liens on any recovery you might
    obtain. You recognize and understand that any liens must be resolved before we can distribute to
    you your portion of any recovery. You acknowledge that we may engage a company that specializes
    in resolving these types of liens, and that any fee paid to such company will be treated as an expense
    under this Agreement. Lien resolution could reduce or eliminate your recovery. If any liens on the
    proceeds of this matter are asserted, you authorize us to hold in trust any funds we reasonably
    believe are or may be subject to any liens, until such liens are resolved and released.

    6. Attorneys’ Right
                  IR    itto W
                             Withdraw

            You acknowledge that the attorneys have the right to stop representing you at any time if, in
    their professional judgment and consistent with their ethical responsibilities, they come to believe
    that your potential claims are unlikely to result in a recovery for any reason, including, but not limited
    to, the Company’s inability to pay.

    7. Client’s Right
                IR    itto T
                           Terminate Attorneys

          You may terminate attorneys at any time by written notice by email to
    centurylinkclaims@klclientservices.com. If you do, you agree that the attorneys are entitled to a
    reasonable fee and reimbursement of costs for the work performed prior to termination.

    8. Potential Conflicts
                 (


            The attorneys intend to represent many clients with claims like yours. At this time, your
    interests and the interests of other clients align. We know of no conflicts of interest that would have
    an adverse impact on our representation of you. It is, however, possible that conflicts may arise in the
    future, including:

           We discover that there is a limited pool of assets from which recovery is reasonably likely (for
    example, an insurance policy), and those assets are insufficient to pay all of our clients the full value
    of their claims.

           A defendant offers an aggregate or “lump sum” settlement to all of our clients that does not
    specify the amount each client will receive.

           A defendant offers to settle, but only if a certain percentage, or even all, of our clients accept
    the proposed settlement.

           We may also be required by the applicable rules of professional conduct to share material
    information about your claims and negotiating position with our other clients with similar claims.
    While we will try to avoid these issues if it is practical to do so, they might occur. If any conflict of
    interest affecting you does arise, we will inform you promptly and work with you on how best to
    proceed in accordance with the applicable rules of professional conduct.

    9. No G
          Guarantee

          You acknowledge that the attorneys have not and will not provide any guarantee about the
    outcome of your claims.
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 30 of 32


    10. Association of Counsel

          You acknowledge that the attorneys may associate with other counsel to assist with your
    potential claims and you authorize us to do so on written notice to you. We will pay for associated
    counsel without passing the expense on to you.

    11. Entire Agreement and Choice of Law

           This Agreement contains the entire agreement of the parties. It cannot be modified or
    canceled except in writing signed by all parties. This Agreement will be construed in accordance with
    the laws of Illinois notwithstanding choice of law rules.

    12. Arbitration

            In the event of any dispute, controversy, or claim between us (or our respective heirs,
    successors, assigns, or affiliates) arising out of, relating to, or in connection with your engagement of
    us (any of the foregoing, a “dispute”), you and we waive the right to seek remedies in court, including
    the right to a jury trial, and agree to submit said dispute exclusively to binding individual arbitration
    conducted by a single arbitrator subject to the rules of the American Arbitration Association (“AAA”).
    The arbitrator shall not have the authority to decide any claims as a class, collective, or representative
    action. The seat of the arbitration will be in Chicago, Illinois unless AAA determines that this location
    will impose undue hardship, in which case the location will be set by AAA. The parties will share the
    expense of arbitration equally, except that if you represent that this would impose an undue hardship,
    you will initially be responsible only for a filing fee equal to the amount that would be necessary to
    file your claim in court. In that event, the attorneys will advance the remaining fees and expenses on
    your behalf and the arbitrator will determine any additional amount you can pay without sustaining
    undue hardship. Threshold issues of arbitrability shall be decided by the arbitrator, including the
    scope of this agreement and whether a controversy or claim arises out of or relates to your
    engagement of us.

           You are not required to agree to the above paragraph for us to represent you. If you do not
    want the above paragraph to apply, simply let us know within 90 days of signing this agreement by
    sending an email to centurylinkclaims@klclientservices.com indicating that you do not want the
    arbitration provision of this agreement to apply. The above paragraph does not apply if it is
    prohibited by the applicable attorney ethics rules.

    13. Power of  Attorney
              (!) A



           Consistent with the attorney ethics rules and other requirements for powers of attorney, you
    grant us the power of attorney to execute all documents connected with your claims.

    14. No 7r
           Tax or
               (!) Benefit
                   [Bl     Advice

          You acknowledge and agree that the attorneys cannot and will not provide legal advice
    regarding the tax and government benefit implications of you receiving any settlement or sum of
    money.

                Written Consent itto s
    15. Express w                    Send 7r
                                          Text Messages
                                               1M       and
                                                        ai  Make
                                                            1M   Automated Calls
                                                                 A

           You provide us and our designees and agents your express permission and authorization to
    send text messages to the number or numbers you provide to us or our agents during the intake
    process and thereafter. You represent that you are the subscriber of those numbers and have the
    authority to give such consent. By executing this agreement, you authorize us to deliver or cause to
    be delivered to you telemarketing calls using an automatic telephone dialing system or an artificial or
    prerecorded voice.
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
 CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 31 of 32



           You are not required to provide us this authorization for us to represent you. If you do not
    wish to receive text messages, please let us know within 90 days of signing this agreement by sending
    an email to centurylinkclaims@klclientservices.com indicating that you do not wish to receive text
    messages.

    16. Other Law
              l Firms
                  f

           You represent to us that you have not signed an agreement with another law firm to pursue
    any claims against the Company for you and that you do not recall signing such an agreement. To the
    extent you did and you do not remember, by signing this agreement, you are exercising your right to
    terminate any prior agreement with any other law firm in connection with your claims against the
    Company. You authorize the attorneys to communicate with any other firm about all issues related to
    any claims you have against the Company, and you agree that by signing this agreement, you are
    instructing any other firm to discuss your Company claims only with us and not you.

                       s
    17. Authority itto Sign

             You represent that you have read and understood this agreement and have authority to sign it.

                                                             ** ** **

                            We look forward to working to get you fair compensation.


     Date:
                                                    By:
DocuSign Envelope ID: 8D08423B-4D94-445A-89B9-9E5EC4CE5A7A
               CASE 0:17-md-02795-MJD-KMM Document 512-5 Filed 01/10/20 Page 32 of 32




                        Declaration in Support of Application for Waiver of Fees –
                                          California Consumers

    In consumer arbitrations in California, consumers with a gross monthly income of less than 300% of the federal
    poverty guidelines are entitled to a waiver of the arbitration fees.


    NAME OF CONSUMER: ___________________________________________

    ADDRESS:_______________________________________________________

    _________________________________________________________________

    GROSS MONTHLY INCOME: _______________________________________

    NUMBER OF PERSONS IN HOUSEHOLD: ____________________________


    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
    Executed on _________________, at ____________________, California.



                                       ___________________________________

                                              Signature of Consumer
